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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

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                                        LATONYA WILEY,
                                   7                                                        Case No. 3:15-cv-04727-JD
                                                       Plaintiff,
                                   8
                                                v.                                          ORDER CONDITIONALLY
                                   9                                                        DISMISSING CASE
                                        EQUIFAX INFORMATION SERVICES,
                                  10    LLC,
                                  11                   Defendant.

                                  12
Northern District of California
 United States District Court




                                  13          The Court is advised that the parties have settled. Dkt. No. 22. Consequently, the Court

                                  14   vacates all pretrial deadlines and dismisses this case without prejudice. If any party certifies to the

                                  15   Court within forty-five days from the date of this order that the agreed consideration for the

                                  16   settlement of this action has not been delivered, this order will be vacated and the case will be set

                                  17   for a case management conference. If no certification is filed, the dismissal will be with prejudice

                                  18   after the passage of the forty-five days.

                                  19          IT IS SO ORDERED.

                                  20   Dated: April 1, 2016

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                                                                                                     JAMES DONATO
                                  23                                                                 United States District Judge
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